Case 1:08-cv-03836-SLT-CLP Document 6 Filed 03/11/09 Page 1 of 2 PageID #: 14




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK
                                BROOKLYN DIVISION

Patricia Parker,
                                                     Case No. 1:08-cv-03836-SLT-CLP
       Plaintiff,

v.
                                                            NOTICE OF DISMISSAL
Capital Management Services, LP,                              WITH PREJUDICE

       Defendant.


       Now comes Plaintiff, by and through counsel, and hereby dismisses the present action

with prejudice pursuant to Fed. R. 41(a)(1)(A)(i). This notice is being filed before Defendant has

served an answer and therefore is appropriate for dismissal absent stipulation by all parties.



                                              RESPECTFULLY SUBMITTED,

                                              Macey & Aleman, P.C.

                                              By: /s/ Michelle Labayen
                                              Michelle Labayen
                                              420 Lexington Ave
                                              Suite 2132
                                              New York, NY 10170
                                              Tel: 866.339.1156
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                                              Attorney for Plaintiff




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Case 1:08-cv-03836-SLT-CLP Document 6 Filed 03/11/09 Page 2 of 2 PageID #: 15




                                 CERTIFICATE OF SERVICE

       I hereby certify that, on March 11, 2009, a copy of the foregoing Notice was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. The following party was served via

regular U.S. mail:

Capital Management Services, LP
726 Exchange St., Suite 700
Buffalo, NY 14210




                                               /s/ Michelle Labayen




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